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                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 ROBERT MERCED, Individually and on
 behalf of the ESTATE OF ELVIA
 RIVERA,

              Plaintiffs,                        No. 8:20-cv-00587-WFJ-SPF

       v.

 NOVARTIS PHARMACEUTICALS
 CORPORATION,

              Defendant.


           UNOPPOSED MOTION TO APPEAR PRO HAC VICE,
 DESIGNATION OF LOCAL COUNSEL AND DESIGNATION OF TRIAL COUNSEL

       Michael J. Thomas, Esq. moves the Court pursuant to Local Rule 2.02 of the U.S. District

Court for the Middle District of Florida, for permission for Andrew L. Reissaus, Esq. to appear

pro hac vice in the above-styled case as co-counsel for Defendant Novartis Pharmaceuticals

Corporation, and in support states:

       1.      Andrew L. Reissaus is a member, in good standing, of the following bars: District

of Columbia and Virginia.

       2.      Andrew L. Reissaus has never had any disciplinary action taken against him and

does not have any actions pending against him at this time.

       3.      Andrew L. Reissaus seeks permission to appear as counsel in this proceeding with

a member in good standing of the U.S. District Court for the Middle District of Florida, Michael

J. Thomas, of Pennington, P.A., 215 South Monroe Street, 2nd Floor, Tallahassee, Florida 32301,

as local counsel.
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       4.      Andrew L. Reissaus agrees to submit to and comply with all provisions and

requirements of the Rules of Conduct applicable to lawyers admitted to practice before the State

Courts of Florida in connection with his pro hac vice representation in this case.

       5.      In accordance with Local Rule 2.02(a)(1), the undersigned, Michael J. Thomas, of

Pennington, P.A., is a member of good standing with this Court and hereby consents to act as local

counsel and consents to act as counsel and be responsible for the progress of the case, including

the trial in default of the non-resident counsel.

       WHEREFORE, Michael J. Thomas, moves for permission for Andrew L. Reissaus to

appear in this action as counsel for Defendant Novartis Pharmaceuticals Corporation, with Michael

J. Thomas, as local counsel.

Dated: June 3, 2020                            Respectfully submitted,

                                               By: /s/ Michael J. Thomas
                                               Michael J. Thomas
                                               Florida Bar No: 897760
                                               Jacqueline R. A. Root
                                               Florida Bar No: 0085700
                                               Kathryn L. Hood
                                               Florida Bar No: 69337
                                               PENNINGTON, P.A.
                                               215 South Monroe Street, 2nd Floor
                                               Tallahassee, Florida 32301
                                               Phone: (850) 222-3533

                                               Of Counsel:

                                                Robert E. Johnston, Esq. (Pro Hac Vice)
                                                Donald R. McMinn, Esq. (Pro Hac Vice)
                                                Andrew L. Reissaus, Esq. (Pro Hac Vice)
                                                HOLLINGSWORTH, L.L.P.
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                REQUIRED COMPLIANCE WITH LOCAL RULE 3.01(G)

       Moving counsel certifies that he has conferred with counsel for the plaintiff regarding this

motion in accordance with Local Rule 3.01(g) and that plaintiff’s counsel does not oppose this

motion.

                                             By: /s/ Michael J. Thomas
                                             Michael J. Thomas
                                             Florida Bar No: 897760
                                             Jacqueline R. A. Root
                                             Florida Bar No: 0085700
                                             Kathryn L. Hood
                                             Florida Bar No: 69337
                                             PENNINGTON, P.A.
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                                             Phone: (850) 222-3533



                                CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was filed via the Court’s CM/ECF filing

system and served on the following on this 3rd day of June 2020.

       Francisco A. Albites
       PARKER WAICHMAN LLP
       27299 Riverview Center Blvd, Suite 108
       Bonita Springs, Florida 34134
       (239) 390-8612
       Attorneys for Plaintiffs


                                                     /s/Michael J. Thomas
                                                     ATTORNEY




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